                       UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                    DOCKET NO. 3:06CR51-2-W

UNITED STATES OF AMERICA,                          )
                                                   )
                       Plaintiff,                  )
                                                   )
                v.                                 )                     ORDER
                                                   )
(2) MICHAEL LAMPKIN,                               )
                                                   )
                       Defendant.                  )


        THIS MATTER is before the Court on the government’s motion to vacate in part the

preliminary order of forfeiture filed herein on August 7, 2007. The motion indicates, based on

corrected title information, that there is insufficient equity value in the subject real property to

justify forfeiture.

        It is therefore ORDERED:

        1. The preliminary order of forfeiture filed herein on August 7, 2007, is hereby vacated in

part by deleting the following asset:

                (b) one parcel of real property, consisting of a house and lot, located at 5970
                Underwood Avenue, Charlotte (Harrisburg), North Carolina, as more particularly
                described in the Cabarrus County Public Registry in a deed recorded at Book
                3500, Page 177, and a quitclaim deed executed by defendant and recorded at Book
                6143, Page 112, as substitute property for a corresponding portion of $1 million in
                criminal proceeds.

        2. Because the following provisions of the preliminary order do not apply to the money

judgment against the defendant forfeiting $1 million in criminal proceeds, which is not affected

by this order, they are also deleted:




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         Pursuant to 21 U.S.C. §853(n)(1), the government shall publish in a newspaper of
         general circulation, notice of this order; notice of its intent to dispose of the
         property in such manner as the Attorney General may direct; and notice that any
         person, other than the defendant, having or claiming a legal interest in any of the
         above-listed forfeited property must file a petition with the Court within thirty
         days of the final publication of notice or of receipt of actual notice, whichever is
         earlier. This notice shall state that the petition shall be for a hearing to adjudicate
         the validity of the petitioner’s alleged interest in the property, shall be signed by
         the petitioner under penalty of perjury, and shall set forth the nature and extent of
         the petitioner’s right, title or interest in each of the forfeited properties and any
         additional facts supporting the petitioner’s claim and the relief sought. The
         United States may also, to the extent practicable, provide direct written notice to
         any person known to have alleged an interest in property that is the subject of this
         order of forfeiture, as a substitute for published notice as to those persons so
         notified.

  3. Except as provided herein, the preliminary order shall remain in full force and effect.



  IT IS SO ORDERED.


                                            Signed: August 22, 2007




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